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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED ) Case Number: 1:22-cv-10904 JSR
STATES VIRGIN ISLANDS )
)
PLAINTIFF, ) AFFIDAVIT OF
) JENNA FORSTER
V. )
)
JPMORGAN CHASE BANK, N.A. )
)
Defendant/Third-Party Plaintiff. )
)
)
JPMORGAN CHASE BANK, N.A. )
)
Third-Party Plaintiff, )
)
Vv. )
)
JAMES EDWARD STALEY )
)
Third-Party Defendant. )
)
I, Jenna Forster, declare and state the following:
A I have never been convicted of a felony;
2: I have never been censured, suspended, disbarred or denied admission or
readmission by any court; and
3. there are no disciplinary proceedings presently against me.

I make this Affidavit in support of my Motion for Admission Pro Hac Vice to appear as counsel

for Plaintiff, Government of the United States Virgin Islands, in the above-captioned action.

Date: 7/14/2024 AMV. aD

JENNA N. FORSTER

Motley Rice LLC

28 Bridgeside Blvd,

Mount Pleasant, SC 29464

(202) 748-0624 phone/(202) 232-5513 fax
jforster@motleyrice.com

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me this pel day of 2023.

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NOTARY PUBLIC™ () ba)

My Commission Expires: fr if vo)
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Anotary public or other officer completing this certificate verifies only the
identity of the individual who signed the document to which this certificate
's atlached, and not the truthfulness, accuracy, or validily of that docurnent.

State of California, County of Alameda JEFFREY C. LEE
a and swom to (or affirmed) before me on this PESO) Notary Public Californias

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by ZEBNA _ FRRSTEA Sa erent | Y my Comm. Expires Dec 23, 2023

proved to me on the basis of satisfactory evidence to be
the person(s) who appeared before me.

